






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00027-CV






Anadarko E&amp;P Company, L.P. f/k/a RME Petroleum Company; 

Larry T. Long, Sammy Adamson and L. Allan Long, in their Capacities

as Trustees for the Lawrence Allan Long Trust, Charles Edward Long Trust,

Larry Thomas Long Trust and John Stephen Long Trust, Appellants


v.


Railroad Commission of Texas; Anadarko E&amp;P Company, L.P.

f/k/a RME Petroleum Company, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. GN204461, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		This administrative appeal involves a challenge to a final order issued by the
Texas&nbsp;Railroad Commission granting a well-spacing exception under Statewide Rule 37 (1) to appellant
Anadarko E&amp;P Company, L.P. f/k/a RME Petroleum Company.  On appeal, Anadarko raises
several&nbsp;procedural challenges to the Commission's final order, and appellants Larry T. Long,
Sammy&nbsp;Adamson, and L. Allan Long, in their capacities as trustees for the Lawrence Allan Long
Trust, Charles Edward Long Trust, Larry Thomas Long Trust, and John Stephen Long Trust
(collectively the "Long Trusts"), argue that the Commission's order was not supported by substantial
evidence.  Because we find no merit in Anadarko's procedural challenges and we conclude the
Commission's final order was supported by substantial evidence, we affirm the district court's
judgment affirming the Commission's order.


BACKGROUND


		The Commission issued a final order granting a permit for the Barksdale Well No.&nbsp;8
on September 12, 2002. (2)  Commission staff had previously granted a permit for Well No.&nbsp;8 to
Anadarko's predecessor, which was challenged by the Long Trusts for lack of notice.  In its final
order, the Commission determined that the original permit, granted administratively by Commission
staff without protest, was void ab initio because the Long Trusts failed to receive notice of the permit
application in accordance with Commission rules.  Upon proper notice and hearing, the Commission
granted an exception to the spacing requirements under Rule 37 to prevent waste and issued a new
permit for Well No. &nbsp;8.


The Original Permit

		Anadarko's predecessor UPRC applied to the Commission for a permit to drill
Well&nbsp;No.&nbsp;8 in 1997.  As part of its application, UPRC requested a Rule 37 exception and submitted
a conditional waiver of objection from Sonat Exploration.  The plat attached to UPRC's application
erroneously identified the offset leaseholder and operator as Sonat Exploration, instead of the
Long&nbsp;Trusts.  Given the conditional nature of the waiver executed by Sonat Exploration, the
Commission sent notice of UPRC's Rule 37 application to Sonat Exploration on January 9, 1998. 
The Commission received no objection to UPRC's application within the requisite ten-day time
period and, therefore, Commission staff granted UPRC an administrative Rule 37 exception as
allowed under subsection (h)(2)(A).  See 16 Tex. Admin. Code §&nbsp;3.37(h)(2)(A).  In the absence of
an objection, the Commission did not hold a hearing or receive evidence regarding UPRC's
application.  UPRC completed the well in June 1998 after receiving approval of its Rule 37
application from Commission staff.


The Long Trusts' Complaint

		On May 23, 2001, the Long Trusts filed a complaint with the Commission on the
ground that they failed to receive notice of UPRC's application for a Rule 37 exception for
Well&nbsp;No.&nbsp;8.  The Commission set the matter for hearing and conducted an administrative hearing on
the complaint.  During the hearing, the Commission also considered whether the well was entitled
to a Rule 37 exception.

		Because no one disputed that the Long Trusts were entitled to receive notice
under&nbsp;Rule 37 and UPRC had failed to give notice of its application for a Rule 37 exception to the
Long Trusts, a major focus of the administrative hearing was whether the original permit was void
or voidable.  Anadarko argued that the permit was merely voidable because evidence was submitted
that the Long Trusts had actual knowledge of the proposed location for Well No. 8 before it was
drilled.  The Long Trusts are a working interest owner in Well No.&nbsp;8 and, in this capacity, UPRC
sent the Long Trusts an approval for expenditure ("AFE") with well location plats showing that the
proposed location for Well No.&nbsp;8 would require a Rule 37 exception.  The Long Trusts signed the
AFE in March 1998.  Thus, Anadarko argued that the Long Trusts' signing of the AFE demonstrated
actual knowledge of UPRC's application for a Rule 37 exception and, therefore, cured any defect
in notice.  However, like the plat submitted with UPRC's application to the Commission, the plat
sent to the Long Trusts failed to identify the Long Trusts as the offset operator to the west of the
portion of the unit where Well No.&nbsp;8 was drilled.

		The hearings examiners issued a proposal for decision recommending that the original
permit be declared voidable, not void, because the Long Trusts had actual knowledge of the proposed
well location and did not file a timely complaint with the Commission.  The hearings examiners
further recommended that the Commission grant a Rule 37 exception for Well No. 8 on the basis
that&nbsp;the well is necessary to prevent waste.

		The Commission considered the proposal for decision in a public conference on
September 12, 2002, and rejected the hearings examiners' recommendation in part.  Contrary to
the&nbsp;recommendation, the Commission voted to declare the permit void ab initio because the Long
Trusts did not receive notice of UPRC's application as required by the plain language of Rule 37. 
The Commission adopted the examiners' recommendation to grant a Rule 37 exception for Well
No.&nbsp;8 to prevent waste.  Those commissioners who were present signed a final order.

		Although representatives of the Long Trusts were present at the Commission's public
conference on September 12, 2002, they were not given a copy of the Commission's signed order.
The record reflects that later that day Commission staff faxed a courtesy copy of the order to the
attorneys for Anadarko and the Long Trusts.  The next day, September 13, 2002, the Commission
mailed a cover letter and a copy of the final order to the attorneys of record in the administrative
proceeding.  The attorney for the Long Trusts received the cover letter and final order on Monday,
September 16, 2002.


Motions for Rehearing

		Anadarko filed its motion for rehearing on October 2, 2002.  That same day, after
receiving Anadarko's motion for rehearing, the Long Trusts filed a letter with the Commission
requesting that the Commission revise its final order and deny the Rule 37 exception.  Two days
later, on October 4, 2002, the Long Trusts filed a formal document specifically labeled as its motion
for rehearing.  Like the letter filed on October 2nd, the October 4th motion asked the Commission
to reconsider its final order and deny the Rule 37 exception.  Relying upon the date it mailed the
copies of the final order, the Commission considered both Anadarko's motion for rehearing and the
Long Trusts' motion for rehearing filed on October 4th to be timely filed.


Nunc Pro Tunc Order

		On November 13, 2002, the Commission denied the parties' motions for rehearing
and issued a nunc pro tunc order correcting two clerical errors in its previous order.  The
Commission corrected the year of the hearing from "2002" to "2001" and, based on the evidence in
the record, the Commission corrected the year that the Long Trusts learned about Well No. 8 from
"1988" to "1998."  Following the issuance of this nunc pro tunc order, Anadarko filed a second
motion for rehearing.  The hearings examiners advised the parties by letter that the nunc pro tunc
order corrected only clerical errors and that the Commission no longer had jurisdiction to act on the
matter.  The Commission therefore took no action on Anadarko's second motion for rehearing.


Appeals in District Court

		Anadarko and the Long Trusts filed separate appeals from the Commission's
final&nbsp;order issued September 12, 2002.  The district court signed an agreed order consolidating the
two appeals.  Thereafter, the district court entered final judgment affirming the Commission's
final&nbsp;order. (3)  Anadarko and the Long Trusts appeal the district court's final judgment affirming the
Commission's final order.


DISCUSSION


		On appeal, Anadarko raises nine issues.  In general, Anadarko faults the Commission
for declaring the original permit void, not voidable, and for considering what it views as an untimely
motion for rehearing filed by the Long Trusts.  For their part, the Long Trusts challenge the merits
of the Commission's order arguing that the Commission applied the wrong legal standard in granting
a Rule 37 exception and that the Commission's order was not supported by substantial evidence.


Standard of Review

		We review the Commission's final order under the substantial evidence rule.  See
Tex. Gov't Code Ann. §&nbsp;2001.174 (West 2008).  Under the substantial evidence rule, we give
significant deference to the agency in its field of expertise.  Railroad Comm'n v. Torch Operating
Co., 912 S.W.2d 790, 792 (Tex. 1995); Texas Health Facilities Comm'n v. Charter Med.-Dallas,
Inc., 665 S.W.2d 446, 452 (Tex. 1984).  We presume that the agency's order is valid and that
its&nbsp;findings, inferences, conclusions, and decisions are supported by substantial evidence.  City of
El Paso v. Public Util. Comm'n, 883 S.W.2d 179, 185&nbsp;(Tex. 1994); Charter Med., 665 S.W.2d
at&nbsp;452.  The complaining party has the burden to overcome this presumption.  City of El Paso,
883&nbsp;S.W.2d at 185; Hammack v. Public Util. Comm'n, 131 S.W.3d 713, 725 (Tex. App.--Austin
2004, pet. denied).

		In conducting a substantial evidence review, we may not substitute our judgment
for&nbsp;that of the agency on the weight of the evidence on questions committed to the agency's
discretion.  Tex. Gov't Code Ann. §&nbsp;2001.174; Charter Med., 665&nbsp;S.W.2d at 452; H.G. Sledge, Inc.
v. Prospective Inv. &amp; Trading Co., Ltd., 36 S.W.3d 597, 602 (Tex. App.--Austin 2000, pet. denied). 
The issue for the reviewing court is not whether we believe the agency's decision was correct,
but&nbsp;whether the record demonstrates some reasonable basis for the agency's action.  Charter Med.,
665 S.W.2d at 452; Central Power &amp; Light Co. v.&nbsp;Public Util. Comm'n, 36 S.W.3d 547, 561
(Tex.&nbsp;App.--Austin 2000, pet. denied).  We will uphold the agency's order unless the agency's
decision is not reasonably supported by substantial evidence, in violation of a constitutional or
statutory provision, in excess of the agency's statutory authority, made through unlawful procedure,
affected by other error of law, arbitrary or capricious, or characterized by an abuse of discretion.  See
Tex. Gov't Code Ann. §&nbsp;2001.174(2)(A)-(F).

		Certain issues raised by the parties involve questions of statutory construction, which
we review de novo.  See, e.g., City of San Antonio v. City of Boerne, 111 S.W.3d 22, 25 (Tex. 2003)
(appellate courts review matters of statutory construction de novo); In re Humphreys, 880 S.W.2d
402, 404 (Tex. 1994) (questions of law are always subject to de novo review).  When construing
a&nbsp;statute, our primary goal is to determine and give effect to the legislature's intent.  City of
San&nbsp;Antonio, 111 S.W.3d at 25.  To determine legislative intent, we look to the statute as a whole,
as opposed to isolated provisions.  State v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002).  We begin
with the plain language of the statute at issue and apply its common meaning.  City of San Antonio,
111 S.W.3d at 25.  Where the statutory text is unambiguous, we adopt a construction supported
by&nbsp;the statute's plain language, unless that construction would lead to an absurd result.  Fleming
Foods of Tex., Inc. v. Rylander, 6 S.W.3d 278, 284 (Tex. 1999).  We give serious consideration to
an agency's interpretation of the statutes it is charged with enforcing, so long as that interpretation
is&nbsp;reasonable and consistent with the statutory language.  Tarrant Appraisal Dist. v. Moore,
845&nbsp;S.W.2d 820, 823 (Tex. 1993); Steering Comms. for the Cities Served by TXU Elec. v. PUC,
42&nbsp;S.W.3d 296, 300 (Tex. App.--Austin 2001, no pet.).  This is particularly true when the statute
involves a complex subject matter.  Steering Comms. for&nbsp;Cities, 42 S.W.3d at 300.  Courts, however,
"do not defer to administrative interpretation in regard to questions which do not lie within
administrative expertise, or deal with a nontechnical question of law."  Rylander v. Fisher Controls
Int'l, Inc., 45 S.W.3d 291, 302 (Tex. App.--Austin 2001, no pet.).

		Additionally, certain issues raised by the parties challenge the Commission's
authority.  The Texas Railroad Commission "is a creature of the Legislature and has no inherent
authority."  Public Util. Comm'n v. GTE-SW Corp., 901 S.W.2d 401, 407 (Tex. 1995).  Like other
state administrative agencies, the Commission "has only those powers that the Legislature expressly
confers upon it" and "any implied powers that are necessary to carry out the express responsibilities
given to it by the Legislature."  Public Util. Comm'n v. City Pub. Serv. Bd., 53 S.W.3d 310, 316
(Tex. 2001).  It is not enough that the power claimed by the Commission be reasonably useful
to&nbsp;the&nbsp;Commission in discharging its duties; the power must be either expressly conferred or
necessarily implied by statute.  The agency may not "exercise what is effectively a new power, or
a power contradictory to the statute, on the theory that such a power is expedient for administrative
purposes."  Id.


Statutory Scheme and Rule 37

		We provide a brief overview of the relevant statutory scheme to give context to
the&nbsp;parties' arguments.  The legislature has given the Commission exclusive jurisdiction to regulate
oil and gas wells in Texas.  See Tex. Nat. Res. Code Ann. §&nbsp;81.051(a)(2) (West 2001). (4)  Pursuant
to this authority, the Commission has adopted various rules regarding the drilling and spacing
of&nbsp;oil&nbsp;and gas wells in Texas, including Rule 37--the Statewide Spacing Rule.  See generally
16&nbsp;Tex.&nbsp;Admin. Code §§ 3.1-.106 (2008).  In relevant part, Rule 37 provides:


	No well for oil, gas, or geothermal resource shall hereafter be drilled nearer than
1,200 feet to any well completed in or drilling to the same horizon on the same tract
or farm, and no well shall be drilled nearer than 467 feet to any property line, lease
line, or subdivision line; provided the commission in order to prevent waste or to
prevent the confiscation of property, may grant exceptions to permit drilling within
shorter distances.



16 Tex. Admin. Code §&nbsp;3.37.  Rule 37 further provides that when an exception to the spacing
requirements is desired, the applicant shall file an application with the proper fees and attachments
as prescribed by the rule.  Id. §&nbsp;3.37(a)(2).  The application must include a plat that conforms to
the&nbsp;requirements in subsection (c) of Rule 37.  Id. §&nbsp;3.37(c).  In addition, the applicant must file a
list of the mailing addresses of all affected persons as identified in subsection (a)(2)(A) of the rule. 
Id. §&nbsp;3.37(a)(2)(A).  The purpose of this list is to allow the Commission to give notice of the
application to all affected persons.  See Tex. Nat. Res. Code Ann. §&nbsp;85.205 (West 2001) (requiring
the Commission to provide notice and an opportunity for hearing).  Rule 37 also requires a person
acquainted with the facts pertinent to the application to certify that all facts stated in the application
are true and within the knowledge of that person.  16 Tex. Admin. Code §&nbsp;3.37(a)(2).

		Commission staff may grant an administrative approval of an application for
exception if notice of at least ten days has been given and no protest has been filed or written waivers
of objection are received from all persons to whom notice would be given under the rule.  Id.
§&nbsp;3.37(h)(2).  If a protest is filed, the Commission will hold a hearing on the application for
exception.  See Tex. Nat. Res. Code Ann. §&nbsp;85.205; 16 Tex. Admin. Code §&nbsp;3.37(a)(3).


Anadarko's Claims

	Challenges to Commission Authority

		We turn first to Anadarko's claims that the Commission erred in declaring the initial
permit void.  In its second, third, fourth, and fifth issues, Anadarko challenges the Commission's
authority to reconsider the issuance of the original permit on the grounds that:  the proceeding was
an impermissible collateral attack on a final Commission order; the Commission lacks authority
to&nbsp;review the order granting the original permit; and, even if the Commission could review the
final&nbsp;order granting the permit, the Commission erred in failing to consider and give effect to the
equitable defenses of laches, estoppel, waiver, and ratification, and, therefore, the Commission erred
in declaring the permit void and not voidable.

		We reject Anadarko's argument that the Commission proceeding was an
impermissible collateral attack on a final Commission order.  Both the Texas Supreme Court and
this Court have recognized that the Commission has statutory authority in certain circumstances to
reconsider its prior orders in oil and gas matters.  See Magnolia Petroleum Co. v. New Process Prod.
Co., 104 S.W.2d 1106, 1110-11 (Tex. 1937); Sexton v. Mount Olivet Cemetery Ass'n, 720 S.W.2d
129, 139 &amp; n.5 (Tex. App.--Austin 1986, writ ref'd n.r.e.) (discussing power of railroad commission
to reconsider prior orders and citing Magnolia Petroleum Co. v. New Process Prod. Co., supra;
Railroad Comm'n v. Aluminum Co. of Am. ("ALCOA"), 380 S.W.2d 599, 602 (Tex. 1964) (holding
commission may modify proration orders "where conditions have changed materially, new and
unforeseen problems arise or mistakes are discovered.")).  In Magnolia Petroleum Co., the supreme
court considered whether the Commission had authority to reconsider its previous denial of a
Rule&nbsp;37 exception and held that, although the Commission was without authority to review or set
aside judicial decrees, the Commission had authority to reconsider its own orders upon a showing
of changed circumstances.  Magnolia Petroleum Co., 104 S.W.2d at 1110.  In Railroad Commission
v. ALCOA, the supreme court confirmed that "the Commission's power to regulate oil and gas
production in the interest of conservation and protection of correlative rights is a continuing one
and&nbsp;its orders are subject to change or modification where . . . mistakes are discovered."  380 S.W.2d
at 602 (emphasis added).  In Sexton v. Mount Olivet Cemetery Association, this Court discussed the
Commission's authority to reconsider its prior orders in light of the supreme court's holdings in
Magnolia Petroleum Co., supra and ALCOA, supra, and concluded that the statutes administered
by the railroad commission granted the Commission the power to set aside its previous orders in oil
and gas matters.  720 S.W.2d at 139 &amp; n.5.  This Court explained:


	In each of these decisions, the statute involved (Tex. Rev. Civ. Stat. Ann. art. 6049c,
§§&nbsp;5, 7, now codified as Tex. Nat. Res. Code §§&nbsp;85.049-.053, 85.058-.064 (1978))
almost amounted to an express delegation to the Commission of a power to
reconsider its previous orders in oil and gas matters, for it directed the Commission,
on complaint or on its own "initiative," to inquire "from time to time" into any aspect
of the oil and gas business to determine, after hearing, whether "waste" was
occurring or was imminent and to issue whatever "rule, regulation or order" may be
"reasonably required to correct, prevent or lessen such waste."


Id.

		The statutes in question have not changed.  Section 81.051 of the natural resources
code grants the Commission exclusive jurisdiction over oil and gas wells in Texas.  Tex. Nat. Res.
Code Ann. §&nbsp;81.051.  Section 85.201 authorizes the Commission to make and enforce rules
and&nbsp;orders for&nbsp;the conservation of oil and gas, the prevention of waste of oil and gas, and,
correspondingly, the&nbsp;protection of correlative rights.  Id. §&nbsp;85.201 (West 2001); see Sexton,
720&nbsp;S.W.2d at 139 n.5.  In addition, section 85.058 gives the Commission authority to inquire
"whether the oil and gas conservation laws of this state or the rules and orders of the [C]ommission
promulgated under those&nbsp;laws are being violated."  Id. §&nbsp;85.058 (West 2001).  And section 81.053
gives the Commission express authority to "hear and determine complaints."  Id. §&nbsp;81.053
(West&nbsp;2001).  Furthermore, section 85.205 serves the constitutional and legislative objective of
protecting correlative rights by requiring that no Commission rule or order may be adopted without
"notice or hearing as provided by law."  Id. §&nbsp;85.205.

		The Commission proceeding at issue involved a hearing and determination of the
Long Trusts' complaint that the administrative approval granted by Commission staff was granted
in violation of the Commission's rules regarding oil and gas conservation, the prevention of waste,
and protection of correlative rights--in particular that the Long Trusts were deprived of "notice and
hearing as provided by law" under Rule 37.  Based on the precedents of both the supreme court and
this Court interpreting the Commission's statutory authority, we conclude that the Commission, in
the absence of judicial review of its prior order, has statutory authority to reconsider its prior
administrative order granting the original Rule 37 exception to UPRC. (5)  See Magnolia Petroleum
Co., 104 S.W.2d at 1110; ALCOA, 380 S.W.2d at 602; Sexton, 720 S.W.2d at 139 &amp; n.5.  We further
conclude that the proceeding was not an impermissible collateral attack on a final Commission order
and that the Commission acted within its statutory authority to consider the Long Trusts' complaint. (6) 
We overrule Anadarko's second and third issues.

		In its fourth issue, Anadarko complains that the Commission erred in declaring
the&nbsp;original permit void rather than merely voidable.  Anadarko is concerned with what it terms
the&nbsp;retroactive effect of the Commission's permit revocation--i.e., that its production under the
original permit was illegal from its inception.  Anadarko frames this argument in jurisdictional terms. 
According to Anadarko, because the original permit was valid on its face and the lack of notice to
the Long Trusts was not a jurisdictional defect, the permit was merely "voidable"--i.e., its
revocation was effective prospectively--not "void."  We find these arguments to be without merit.

		We first observe that in Magnolia Petroleum Co., supra, the supreme court held that
a Commission order entered without proper motion, notice, and hearing was "void."  104 S.W.2d
at 1106.  In that case, New Process Production Company filed an application to drill three additional
wells on a mineral lease in Gregg County, Texas.  Id. at 1107.  The Commission, after notice of
the&nbsp;application was duly given, denied the request.  Id.  Thereafter, New Process again consulted
the&nbsp;Commission about drilling the additional wells.  Id.  The company presented the matter to the
Commission "without any motion, additional application, or notices," and the Commission, without
hearing, entered a second order granting the application.  Id.  Because the Commission's second
order was entered "without any motion, additional application, or notices," the supreme court
cancelled, annulled, and declared void the Commission's second order granting the application.  Id. 
In Railroad Commission v. McKnight, the supreme court confirmed its holding in Magnolia
Petroleum Co. "that the [second] order was void, not because the [C]ommisson was without
potential jurisdiction to enter it but because it was entered without proper motion, notice and
hearing."  619 S.W.2d 255, 258 (Tex. 1981).

		As previously noted, section 85.205 expressly limits the Commission's authority by
prohibiting it from adopting a rule or permit "except after notice and hearing as provided by law." 
Tex. Nat. Res. Code Ann. §&nbsp;85.205.  There is no dispute that the Long Trusts were entitled to notice
under Rule 37.  Rule 37 provides that "[n]o well drilled in violation of this section without special
permit obtained, issued, or granted in the manner prescribed in said section . . . shall be permitted
to produce."  16 Tex. Admin. Code §&nbsp;3.37(e) (emphasis added).  In the absence of proper notice, we
conclude that the Commission did not err in declaring the original permit "void"--i.e., the
production was illegal from its inception--rather than "voidable."  See Magnolia Petroleum Co.,
104&nbsp;S.W.2d at 1107; McKnight, 619 S.W.2d at 258; see also Rodriguez v. Service Lloyds Ins. Co.,
997&nbsp;S.W.2d 248, 254 (Tex. 1999) (courts defer to an agency's interpretation of its own rules unless
plainly erroneous or inconsistent with the regulation or underlying statute).  We overrule Anadarko's
fourth&nbsp;issue.

		We similarly reject Anadarko's complaint that the Commission erred in failing to
consider and give effect to the equitable defenses of laches, estoppel, waiver, and ratification. (7)
  The
record is clear that the Commission considered and rejected the equitable arguments raised by
Anadarko.  The Commission specifically rejected Anadarko's defense of laches when it refused to
adopt the hearings examiners' recommendation and proposal for decision on this issue.  Likewise,
the Commission rejected the remaining arguments asserted by Anadarko when it considered and
denied Anadarko's motion for rehearing.  Because the record demonstrates that the Commission
considered and rejected the equitable defenses raised by Anadarko, we consider only whether the
Commission erred in failing to give effect to these defenses.

		This Court has recognized that an administrative agency makes fundamental policy
choices when it adopts rules under the APA rulemaking procedures.  Texas Ass'n of Long Distance
Tel Co. (Texaltel) v. Public Util. Comm'n, 798 S.W.2d 875, 886 (Tex. App.--Austin 1990,
writ&nbsp;denied).  Such policy choices necessarily involve the balancing of competing interests and an
evaluation of the equities of the situation.  Id.  The Commission's adoption of notice requirements 
thus represents a fundamental policy choice that proper notice is required before the Commission
or its staff may grant a Rule 37 exception.  See 16 Tex. Admin. Code §&nbsp;3.37(a)(2)(A) (requiring
notice), (h)(2) (prohibiting administrative grant of Rule 37 exception unless notice has been given
and no protest has been filed or written waivers of objection are received).  Furthermore, as
previously noted, this notice requirement has both constitutional and statutory underpinnings.

		We cannot conclude that the Commission erred with regard to the weight it afforded
UPRC's "equitable" factors as against the interests in strict enforcement of Rule 37's notice
requirements.  See Rodriguez, 997 S.W.2d at 255 (agency is bound to follow its own rules and
procedures); Public Util. Comm'n v. Gulf States Util. Co., 809 S.W.2d 201, 207 (Tex. 1991) (same). 
We overrule Anadarko's fifth issue.


	Notice

		In its first and sixth issues, Anadarko argues that the Long Trusts' actual knowledge
of the well location and the Commission's subsequent hearing and finding that the permit is
necessary to prevent waste satisfied the notice requirements in Rule 37 or, alternatively, cured any
defect in notice.  We disagree.

		Having adopted the notice requirements in Rule 37, the Commission was entitled to
insist upon strict compliance with its rule.  See Rodriguez, 997 S.W.2d at 255 (agency is bound to
follow its rules); Gulf States Utils. Co., 809 S.W.2d at 207 (same); see also F.A. Gillespie &amp; Sons
Co. v. Railroad Comm'n, 161 S.W.2d 159, 163 (Tex. 1942) ("An operator's rights must be acquired
in compliance with the provisions of a valid rule of the Commission; and none can be acquired in
violation of it.").  As previously suggested, that the Commission requires strict compliance with the
notice requirements of Rule 37 is consistent with the statutory scheme and structure of the rule.  The
natural resources code prohibits the Commission from adopting an order or rule pertaining to the
conservation or waste prevention of oil and gas "except after notice and hearing as provided by law."
Tex. Nat. Res. Code Ann. §&nbsp;85.205.  The plain language of Rule 37 places the burden of correctly
identifying affected persons squarely upon the applicant.  16 Tex. Admin. Code §&nbsp;3.37(a)(2).  It is
therefore incumbent upon the applicant for a Rule 37 exception to ensure that the correct parties have
been identified so that the Commission may provide proper notice to those parties.  Id.

		We agree with Anadarko, and the Commission found, that the Long Trusts had actual
knowledge of the proposed location of Well No.&nbsp;8.  But actual knowledge of the proposed location
does not equate to actual knowledge of UPRC's application for a Rule 37 exception.  Nor does it
equate to the notice that the Long Trusts were entitled to receive in order to allow them an
opportunity to protest that application.

		The AFE submitted to the Long Trusts identified the Long Trusts as a 25% working
interest owner in the proposed well.  But the plat attached to the AFE failed to identify the
Long&nbsp;Trusts as the affected offset operator of the adjacent tract.  Even if we assume, based solely on
the proposed location of the well as identified in the plat, that the Long Trusts knew a Rule 37
exception would be required, we cannot assume the Long Trusts knew they were the offset operator
and were therefore entitled to protest such an exception.

		While we agree with Anadarko that the Long Trusts had actual knowledge of
the&nbsp;proposed location of Well No.&nbsp;8, we do not agree that such knowledge satisfied the notice
requirements of Rule 37.  The notice requirements of Rule 37 are designed to protect the correlative
rights of those parties affected by a Rule 37 exception.  The mere knowledge of a well's proposed
location without more does not protect correlative rights because it does not give notice of
any&nbsp;potential adverse effects to such rights.  Therefore, we conclude that the Long Trusts' actual
knowledge of the proposed location of Well No. 8 neither satisfies the requirements of Rule 37 nor
cures any defect in notice.  We likewise conclude that the Commission's subsequent hearing on
the&nbsp;Long Trusts' complaint cannot cure the defects in notice regarding the original permit
application.  See, e.g., In re Adoption of Armstrong, 394 S.W.2d 552, 555-56 (Tex. App.--El Paso
1965) (on&nbsp;remand, adopting opinion of U.S. Supreme Court in Armstrong v. Manzo, 380 U.S. 545
(1965) (subsequent hearing does not cure due process defect regarding lack of notice of original
proceeding)).  We overrule Anadarko's first and sixth issues.


	Final Order and Motions for Rehearing

		In its three remaining issues, Anadarko challenges the district court's determinations
that the November 13, 2002, nunc pro tunc order of the Commission was not a final order and brings
two challenges to the Long Trusts' motions for rehearing.  We reject these claims.

		The record demonstrates that the Commission issued its final order on September 12,
2002.  Thereafter, on November 13, 2002, the Commission issued an order nunc pro tunc to
correct&nbsp;two clerical errors in its previous order.  The Commission's order nunc pro tunc corrected
the hearing date from "December 12, 13, and 14, 2002" to "December 12, 13, and 14, 2001" and also
corrected another date from "March 1988" to "March 1998." 

		In its seventh issue, Anadarko contends that the district court erred in holding that the 

November 13, 2002, order nunc pro tunc was not a final order.  The essence of Anadarko's argument
is that the Long Trusts were required to file a second motion for rehearing from the November 13,
2002, order nunc pro tunc in order to preserve their complaints on appeal, and the Long Trusts failed
to do so.  Therefore, according to Anadarko, the district court should have dismissed the Long
Trusts' administrative appeal for lack of jurisdiction.  We disagree.

		In support of this argument, Anadarko relies primarily upon section 2001.145 of
the&nbsp;Administrative Procedure Act ("APA"), which requires a timely motion for rehearing as a
prerequisite to an appeal in a contested case.  See Tex. Gov't Code Ann. §&nbsp;2001.145(a) (West 2008). 
Both the Texas Supreme Court and this Court have previously rejected this argument.  In Consumers
Water, Inc. v. Public Utility Commission, the supreme court held that a second motion for rehearing
was not required when the agency's subsequent order denied the parties' motions for rehearing,
but&nbsp;amended the previous order to add the finding of "imminent peril" required under
subsection&nbsp;2001.144(a)(3) of the APA.  741 S.W.2d 348, 349 (Tex. 1987).  Significant to our
analysis here, the supreme court reversed this Court's judgment and holding that a second motion
for rehearing was required.  See id. (reversing Consumers Water, Inc. v. Public Util. Comm'n,
707&nbsp;S.W.2d 186 (Tex. App.--Austin 1986)).

		The supreme court has since confirmed that reviewing courts should use a "more
pragmatic and flexible approach" to evaluate the finality of an agency's order.  Texas-New Mexico
Power Co. v. Texas Indus. Energy Consumers, 806 S.W.2d 230, 232 (Tex. 1991).  Under this
approach, courts must recognize the need to minimize disruption of the administrative process and
to afford regulated parties and consumers with an opportunity for timely judicial review of actions
that affect them.  Id.  The supreme court explained that "there is no single rule dispositive of all
questions of finality, and reviewing courts should consider the statutory and constitutional context
in which the agency operates, and should treat as final a decision 'which is definitive, promulgated
in a formal manner and one with which the agency expects compliance.'"  Id. (quoting 5 J. Stein,
G. Mitchell &amp; B. Mezines, Administrative Law 48-10 (1988)).

		Applying the supreme court's "more pragmatic and flexible approach," this Court,&nbsp;in
Office of Public Utility Counsel v. Public Utility Commission, held that a second motion for
rehearing was not required when the subsequent orders of the administrative agency did not
alter&nbsp;the&nbsp;original order with respect to the first motion for rehearing.  843 S.W.2d 718, 726
(Tex.&nbsp;App.--Austin 1992, writ denied).  In other words, where the agency's subsequent order did
not grant the motion for rehearing or otherwise change the previous order in response to a motion
for rehearing, this Court determined that there was no need for a second motion for rehearing.  Id.

		To the extent Anadarko relies on this Court's decision in Southern Union Gas Co.
v. Railroad Commission, 690 S.W.2d 946, 948 (Tex. App.--Austin 1985, writ ref'd n.r.e.), we find
that case distinguishable.  In that case, the Commission granted the gas company's motion for
rehearing for the limited purpose of changing the effective date to implement new rates and, thereby,
modified its earlier order.  The Commission denied the motion for rehearing in all other respects. 
The gas company did not file a second motion for rehearing.  Id. at 947.  This Court determined
that&nbsp;Southern Union Gas was required to file a second motion for rehearing after the Commission
modified its earlier order.  Id. at 948.  This Court rejected the argument that a second motion
was&nbsp;unnecessary because the modification of the earlier order was not substantial.  Id. at 948-49; see
Ross v. Texas Catastrophe Prop. Ins. Ass'n, 770 S.W.2d 641, 644 (Tex. App.--Austin 1989,
no&nbsp;writ) (to draw distinction between order that agency changes substantially in response to motion
for rehearing and one that changes only in minor fashion is not the law of this state).

		In this case, unlike Southern Union Gas, the Commission denied the motions for
rehearing.  Like Office of Public Utility Counsel, there was no change in the Commission's order
with respect to the Long Trusts' motion for rehearing.  Therefore, we conclude that the Long Trusts
were not required to file a second motion for rehearing from the Commission's November 13, 2002,
order nunc pro tunc. (8)
  We overrule Anadarko's seventh issue.

		In its eighth and ninth issues, Anadarko challenges the sufficiency and timeliness
of&nbsp;the Long Trusts' motions for rehearing.  Anadarko first argues that the Long Trusts' letter filed
October 2, 2002, was not a proper motion for rehearing and, therefore, preserved nothing for review.
Second, Anadarko argues that the Long Trusts' motion for rehearing filed October 4, 2002,
was&nbsp;untimely because the APA requires a motion for rehearing to be filed within twenty days after
a party receives notice of the Commission's final order and the Long Trusts received a copy of
the&nbsp;Commission's final order on the day it was signed, September 12, 2002, thereby making the
applicable twenty-day deadline October 2nd and rendering the October 4th motion untimely.

		Because we conclude the Long Trusts' October 4th motion for rehearing was timely
filed, we do not consider Anadarko's argument regarding the sufficiency of the October 2nd letter
filed by the Long Trusts.

		As previously noted, section 2001.145 of the APA requires a party to file a timely
motion for rehearing as a prerequisite for judicial review.  Tex. Gov't Code Ann. §&nbsp;2001.145(a). 
Section 2001.146 specifies that a party must file its motion for rehearing not later than the
twentieth&nbsp;day after the date on which the party or the party's attorney of record is notified as
required&nbsp;under section 2001.142.  Id. §&nbsp;2001.146(a) (West 2008); Temple Indep. Sch. Dist.
v.&nbsp;English, 896&nbsp;S.W.2d 167, 169 (Tex. 1995).  Under subsection 2001.142(a), a party shall be
notified either personally or by first class mail of any decision or order.  Tex. Gov't Code Ann.
§&nbsp;2001.142(a) (West 2008).  The APA thus provides two methods by which a party or the party's
attorney can be notified of an agency's decision:  personal notice or notice by first class mail.  Id.

		In this case, the record reflects that the Long Trusts did not receive a copy of the
Commission's order at the public conference on September 12, 2002.  Although Commission staff
faxed a courtesy copy of the order to the Long Trusts' later that day, this faxed copy does not satisfy
the APA requirement of personal notice or notice by first class mail.  See Tex. Gov't Code Ann.
§&nbsp;2001.142(a).  The record reflects that Commission staff mailed a copy of the order to the
Long&nbsp;Trusts' attorney of record the next day--September 13, 2002--and that the Long Trusts'
attorney of record received this mailed notice on September 16, 2002.  It is this mailed notice that
satisfies the requirements in section 2001.142(a) of the APA.  See id.  Therefore, the deadline for
filing a motion for rehearing was twenty days from September 16, 2002, or October 6, 2002. 
Tex.&nbsp;Gov't Code Ann. §&nbsp;2001.146(a).  Because the Long Trusts' motion for rehearing was filed
October 4th, we conclude the motion was timely, and we overrule Anadarko's ninth issue.  We now
turn to the merits of the Long Trusts' claims.


The Long Trusts' Claims

		In two issues, the Long Trusts contend that the Commission erred in granting a
Rule&nbsp;37 exception to Anadarko's predecessor in interest UPRC.  First, the Long Trusts argue that
the Commission applied the wrong legal standard and, second, the Long Trusts argue that the
Commission's order was not supported by substantial evidence.

		Anadarko and the Commission assert that the Long Trusts have failed to preserve
their complaint that the Commission applied the wrong legal standard by failing to raise this issue
in their motion for rehearing.  Alternatively, Anadarko and the Commission argue that even if we
conclude the issue has been raised, the Long Trusts' complaint is more properly considered in the
context of whether the Commission's order is supported by substantial evidence because the essence
of the Long Trusts' argument is that the Commission applied the wrong law to the facts of this case. 
Having reviewed the Long Trusts' October 4th motion for rehearing, we disagree with Anadarko and
the Commission that the Long Trusts have failed to preserve this issue.  However, we agree that the
essence of the Long Trusts' complaint is that the Commission applied the wrong law to the facts of
this case and that this argument is more properly considered in the context of whether the
Commission's order is supported by substantial evidence, which we address more fully below.

		In their second issue, the Long Trusts argue that the Commission's order granting a
Rule 37 exception is not supported by substantial evidence.  Essentially, the Long Trusts argue
that&nbsp;Anadarko failed to establish that Well No.&nbsp;8 was necessary to prevent waste.  For the reasons
discussed below, we reject the Long Trusts' argument.

		Rule 37 allows the Commission to grant an exception to the spacing requirements
thereunder on two grounds: to prevent waste and to prevent the confiscation of property.  16 Tex.
Admin. Code §&nbsp;3.37(a)(3).  The Commission's final order granted UPRC a Rule 37 exception on the
ground that Well No.&nbsp;8 was necessary to prevent waste.

		The supreme court has defined the term "waste," as used in  Rule 37, to mean "the
ultimate loss of oil."  Gulf Land Co. v. Atlantic Ritchfield Co., 131 S.W.2d 73, 80 (Tex. 1939). 
Under this definition, the court explained that a Rule 37 exception to prevent waste may be justified
if a substantial amount of oil or gas that otherwise would ultimately be lost will be saved by
the&nbsp;drilling of a well.  Id. (emphasis added).  To obtain a Rule 37 exception to prevent waste, it must
be shown that, because of unusual conditions in the localized area, closer spacing of wells is
necessary to recover the hydrocarbons.  Wrather v. Humble Oil &amp; Ref. Co., 214 S.W.2d 112,
117&nbsp;(Tex. 1948).  Thus, to obtain a Rule 37 exception, UPRC was required to show that unusual
conditions--i.e., different from conditions in adjacent parts of the field--existed under the tract for
which the exception was sought; that as a result of these unusual conditions, hydrocarbons cannot
be recovered by any existing well or by additional wells drilled at "regular" locations; (9) and that the
volume of otherwise unrecoverable hydrocarbons is substantial.

		The record demonstrates that the Barksdale Estate Gas Unit on which Well No.&nbsp;8 is
located is an irregularly shaped unit with a panhandle section similar to the shape of the State of
Texas or Oklahoma.  The well is located in the panhandle section of the unit equidistant from
east&nbsp;and west lines.  Although regular locations exist on the unit, no regular locations exist in the
panhandle section.  The undisputed evidence showed that there was a rapid depositional environment
in the area of Well No. 8 as contrasted to the remaining field as a whole.  The evidence showed that
this rapid depositional environment would impact the heterogeneity, permeability, and porosity in
the area of Well No. 8.  The Commission determined that the lease geometry of the panhandle
section coupled with the impact of the rapid depositional environment constituted an unusual
condition that precluded the reservoir from being adequately drained by wells at regular locations.
In addition, the evidence showed that Well No. 8 will recover between 224 and 1,056 million cubic
feet of gas that would not otherwise be recoverable by wells at regular locations.  The Commission
thus determined that Well No.&nbsp;8 would recover a substantial amount of hydrocarbons that would not
otherwise be recoverable by wells at regular locations.

		The Long Trusts challenge the Commission's order on the grounds that there was
conflicting evidence presented on the issue of "unusual conditions" at the location of Well No.&nbsp;8 and
that the Commission failed to require UPRC to demonstrate unusual conditions at the site of the
proposed well.  To the extent the Long Trusts argue that certain evidence in the record showed a lack
of unusual conditions, the Long Trusts ignore the established premise that the Commission was
entitled to accept or reject in whole or in part the testimony of the various witnesses who testified. 
See City of Corpus Christi v. Public Util. Comm'n, 188 S.W.3d 681, 695 (Tex. App.--Austin 2005,
pet. denied); Railroad Comm'n v. Lone Star Gas Co., 618 S.W.2d 121, 125 (Tex. Civ. App.--Austin
1981, no writ); City of Frisco v. Texas Water Rights Comm'n, 579 S.W.2d 66, 69 (Tex. Civ.
App.--Austin 1979, writ ref'd n.r.e.). Likewise, the Commission was the sole judge of the weight
to be accorded the witnesses' testimony. Central Power &amp; Light Co., 36&nbsp;S.W.3d at 561.

		The Commission's order expressly states in finding-of-fact ten that the "undisputed
geologic evidence shows that there was a rapid depositional environment in the area of the Barksdale
No. 8 as contrasted to the field as a whole."  The Commission found that this "rapid depositional
environment" in conjunction with the lease geometry constituted an unusual condition justifying a
Rule 37 exception.  The record thus demonstrates that the Commission's decision to grant a Rule&nbsp;37
exception was based in part on the unusual condition of a "rapid depositional environment" in the
localized area of the proposed well.  We conclude that there is a reasonable basis in the record
before&nbsp;us to support the Commission's finding of unusual conditions at the location of Well No.&nbsp;8.
See Charter Med., 665 S.W.2d at 452; Central Power &amp; Light Co., 36 S.W.3d at 561.

		The Long Trusts further argue that the Commission's order was not supported by
substantial evidence because the Commission's consideration of "lease geometry" was improper. 
In considering whether to grant a Rule 37 exception to prevent waste, the supreme court has held that
the Commission need not confine its analysis to the sole question as to whether the well will save
oil that otherwise would be lost.  Gulf Land Co., 131 S.W.2d at 85.  Rather, "the Commission should
be left reasonably free to exercise its sound judgment and discretion," keeping in mind that the
Commission's duty is to conserve oil and gas above ground as well as below.  Id.  Such discretion
would reasonably include the ability to decide which factors to consider in determining whether
to&nbsp;grant a Rule 37 exception to prevent waste, as well as how much weight to give each factor.  Id.;
see also Halbouty v. Railroad Comm'n, 357 S.W.2d 364, 374 (Tex. 1962) (finding Commission, in
exercising its regulatory discretion, may give greater or less weight to relevant factors in setting
production limitations); Texas Bldg. Owners &amp; Managers Ass'n v. Public Util. Comm'n, 110 S.W.3d
524, 536 (Tex. App.--Austin 2003, pet. denied) (when exercising delegated regulatory authority,
agency has discretion to consider factors legislature may not have foreseen and to decide relevancy
and weight of those factors in each circumstance).

		That the Commission may consider factors beyond mere geology in determining
whether requirements necessary to grant a Rule 37 exception to prevent waste have been met was
more recently confirmed by the supreme court in Exxon Corp. v. Railroad Commission, 571 S.W.2d
497 (Tex. 1978).  In that case, the court upheld the Commission's determination that an existing
well&nbsp;bore, as well as economic infeasibility of drilling at regular locations, established unusual
conditions justifying a Rule 37 exception to prevent waste.  Id. at 501.  Citing evidence that the oil
to be produced from the proposed well could not be produced from any other existing well, the court
affirmed the Commission's determination that an exception was necessary to prevent waste.  Id.

		The Commission's consideration of economic infeasibility in Exxon Corp. is no
different than the Commission's consideration of lease geometry in this case.  We therefore reject
the Long Trusts' claim that the Commission was forbidden from considering lease geometry when
determining whether a Rule 37 exception should have been granted to prevent waste.

		The Long Trusts also argue that the Commission's order was not supported by
substantial evidence because the Commission failed to make a finding that no well at a regular
location would drain the hydrocarbons to be recovered by Well No. 8.  Contrary to this assertion, the
Commission expressly determined in finding of fact 11 that lease geometry coupled with the impact
of the depositional environment would preclude the panhandle section of the Barksdale Unit from
being drained "by wells at regular locations."  The record demonstrated that the formation into which
Well No.&nbsp;8 was completed was a tight gas formation, which means that gas is not easily produced
from the reservoir without stimulation.  In addition, the evidence submitted by UPRC included a well
reservoir simulation study showing that Well No.&nbsp;8 would recover hydrocarbons that would not be
recovered by a well at a regular location. (10)  We therefore reject the Long Trusts' contention.

		Finally, the Long Trusts contend that the Commission erred in considering volumes
of gas that had been illegally produced since 1998 when deciding whether to grant a Rule 37
exception to prevent waste in 2001.  The Commission determined that the proposed well would
recover between 224 and 1,056 million cubic feet of gas that would otherwise be unrecoverable by
wells at regular locations.  The Long Trusts agree that the lower number of 224 million cubic feet
of gas is based on record evidence regarding 2001 production forward, while the higher number
was&nbsp;based on record evidence regarding 1998 production forward.  As we have previously noted, the
Commission has broad discretion in determining which factors to consider when granting a Rule 37
exception and how much weight to give each factor.  See Halbouty, 357 S.W.2d at 374; Gulf Land
Co., 131 S.W.2d at 85.  Because the record demonstrates the Commission considered that from 2001
forward the proposed well would recover 224 million cubic feet of gas that would otherwise be
unrecoverable, we find no merit in the Long Trusts' argument, and we conclude that there is a
reasonable basis in the record to support the Commission's conclusion that a Rule 37 exception was
necessary in 2001 to prevent waste.

		We therefore reject the Long Trusts' claim that the Commission's order is not
supported by substantial evidence, and we overrule the Long Trusts' second issue.


CONCLUSION


		Having overruled the parties' issues on appeal, we affirm the judgment of the
district&nbsp;court affirming the Commission's final order.



						__________________________________________

						Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear;

     Chief Justice Law Not Participating


Affirmed


Filed:   January 7, 2009
1.   16 Tex. Admin. Code §&nbsp;3.37 (2008) (Tex. R.R. Comm'n, Statewide Spacing Rule)
("Rule&nbsp;37").  Because the relevant portions of Rule 37 have not changed during the pendency of this
appeal, we cite to the current rule for convenience unless otherwise noted.
2.   The Commission issued a nunc pro tunc order on November 13, 2002, correcting two
clerical errors in its previous order.
3.   The district court also signed an order denying Anadarko's plea to the jurisdiction and,
thereafter, entered findings of fact and conclusions of law regarding its denial of the plea.  The
parties do not appeal from the district court's denial of Anadarko's plea to the jurisdiction.
4.   Section 81.051 of the natural resources code provides in relevant part:  "The commission
has jurisdiction over all . . . oil and gas wells in Texas."  Tex. Nat. Res. Code Ann. §&nbsp;81.051(a)(2)
(West 2001).
5.   We emphasize that our holding today does not stand for the general proposition that
an&nbsp;administrative agency has the inherent authority to reconsider its prior adjudicative orders.  See
Sexton v. Mount Olivet Cemetery Ass'n, 720 S.W.2d 129, 139 &amp; n.5 (Tex. App.--Austin 1986,
writ&nbsp;ref'd n.r.e.).  Whether an agency possesses such authority must be considered in light of
the&nbsp;statute that vests the agency with administrative power.  Id. at 138 (agencies have no inherent
authority).
6.   To the extent Anadarko relies on Sproles Motor Freight Line v. Smith, 130 S.W.2d 1087
(Tex. Civ. App.--Austin 1939, writ ref'd), and Public Utility Commission v. Brazos Electric Power
Cooperative, 723 S.W.2d 171 (Tex. App.--Austin 1986, writ ref'd n.r.e.), in support of its claim
that&nbsp;the Commission lacks authority to review its prior orders, we find those cases distinguishable.
Unlike the Commission's authority in this case, Sproles did not involve the Commission's authority
in oil and gas matters, but instead concerned the granting of an application for a certificate
of&nbsp;convenience and necessity to operate motor trucks as a common carrier on Texas highways.
130&nbsp;S.W.2d at 1087.  Similarly, Brazos Electric Power Cooperative involved an entirely different
agency--namely, the public utility commission, not the railroad commission--and thus an entirely
different statute.  723 S.W.2d at 173.
7.   Anadarko relies on the statements of a commissioner at the conference in which the
Commission considered the proposal for decision in asserting that the Commission failed to consider
Anadarko's equitable defenses.  However, it is immaterial what the commissioners may have said&nbsp;in
the process of arriving at a decision.  See City of Frisco v. Texas Water Rights Comm'n, 579 S.W.2d
66, 72 (Tex. Civ. App.--Austin 1979, writ ref'd n.r.e.).  Statements of a commissioner made during
the deliberative process in an open meeting are irrelevant to the judicial determination whether the
agency order is reasonably sustained by appropriate findings and conclusions that have support in
the evidence.  Id.

8.   We observe that this distinction is consistent with other cases cited by Anadarko.  See
Railroad Comm'n v. Exxon Corp., 640 S.W.2d 343, 346 (Tex. App.--Beaumont 1982, writ ref'd
n.r.e.); Mahon v. Vandygriff, 578 S.W.2d 144, 146-47 (Tex. Civ. App.--Austin 1979, writ ref'd
n.r.e.).  In Exxon Corp., the agency granted the motion for rehearing and the reviewing court held
that a second motion for rehearing was thus required.  640 S.W.2d at 345-46.  In Mahon, the initial
agency order was contingent upon future events and, therefore, was not a final order.  578 S.W.2d
at 147.  The agency issued two subsequent orders, and the appellant did not file a motion for
rehearing regarding either of these orders.  Id. at 146.  On review, this Court affirmed the trial court's
dismissal for failure to file a motion for rehearing from the agency's final order.  Id. at 147-48.

9.   A "regular" location is a well location that does not require a Rule 37 exception because
it meets the requirements of the Commission's statewide spacing rules or the spacing requirements
in "special field rules" applicable only to a particular field.
10.   To the extent that Long Trusts complain that the Commission allowed UPRC to omit
"selected regular locations" from its analysis, the Long Trusts point to a second well that UPRC
could have drilled at a regular location on another adjacent tract.  In considering whether to grant a
Rule 37 exception applicable to this tract, the Commission in its discretion was entitled to accept or
reject the testimony and evidence in whole or in part, see City of Corpus Christi v. Public Util.
Comm'n, 188 S.W.3d 681, 695 (Tex. App.--Austin 2005, pet. denied); Railroad Comm'n v. Lone
Star Gas Co., 618 S.W.2d 121, 125 (Tex. Civ. App.--Austin 1981, no writ), and we may not
substitute our judgment for that of the Commission on questions committed to the Commission's
discretion.  Texas Health Facilities Comm'n v. Charter Med.-Dallas, Inc., 665 S.W.2d 446, 452
(Tex. 1984); H.G. Sledge, Inc. v. Prospective Inv. &amp; Trading Co., Ltd., 36 S.W.3d 597, 602
(Tex.&nbsp;App.--Austin 2000, pet. denied).


